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 8                          UNITED STATES DISTRICT COURT
 9                                DISTRICT OF NEVADA
10
11    UNITED STATES OF AMERICA,         )          3:00-cr-00058-HDM-RAM
                                        )
12                   Plaintiff,         )
                                        )          ORDER
13                                      )
      vs.                               )
14                                      )
      ROBERTO CARLOS RANGEL,            )
15                                      )
                     Defendant.         )
16    _________________________________ )
17          The relief sought in the motion filed September 28, 2015 (#278)
18    is an issue to be decided by the Bureau of Prisons and does not
19    require any action of this court.
20          IT IS SO ORDERED.
21          DATED: This 29th day of September, 2015.
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23                                ____________________________
                                  UNITED STATES DISTRICT JUDGE
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